                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                     DOCKET NO. 3:11cr190-MOC

UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )             PRELIMINARY ORDER
                v.                                 )               OF FORFEITURE
                                                   )
(2) KIMBERLEY BRIDGES MORRIS,                      )
                                                   )
                        Defendant.                 )

         In the Bill of Information in this case, the United States sought forfeiture of property of

the Defendant as property that was proceeds of and/or was used to facilitate the crimes charged,

together with any other substitute property, which would be subject to forfeiture under 21 U.S.C.

' 853(p).

         Defendant entered into a plea agreement; subsequently pled guilty to Counts One and

Two in the Bill of Information; and was adjudged guilty of the offenses charged in those counts.

In the plea agreement, Defendant has agreed to forfeit property including substitute property, and

in a separate consent document has agreed to forfeiture of specific real property as described

below.

         It is therefore ORDERED:

         1.     Based upon Defendant=s plea of guilty, the United States is authorized to seize the

following property, and it is hereby forfeited to the United States for disposition according to

law; provided, however, that such forfeiture is subject to any and all third party claims and

interests, pending final adjudication herein under 21 U.S.C. _ 853(n):




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1.      $2,401.00 in United States Currency;

        $       One 2001 Ford F250 Super Duty truck, VIN 7FTNW 21F61EC53766;
        $       One 2004 Hummer H2, VIN 5GRGN23U14H109356;
        $       One 1998 Chevrolet Corvette, VIN 1G1YY22G3W 5108036;
        $       One Panther ATV M odel 110, VIN L4PGUM 42183A51701;
        $       One 1998 Kawasaki M C ZX900-C, VIN JKAZX2C19W A002278;
        $       One 2003 Yamaha four wheeler, VIN JYA43GD0313C031298;
        $       One 2000 Yamaha PW 50 M C, VIN JYA3PT030YA000053;
        $       One 2006 Suzuki Hyabusa GSX 1300R motorcycle, VIN JS1GW 71A362110867;
        $       One 2009 Polaris Ranger ATV RZR 800cc,VIN 4XAVH76A89D813364
        $       One 2010 Polaris Ranger ATV RZR 170cc, VIN RF3VA17A1AT008727;
        $       One 2006 American Ironhorse motorcycle, VIN 5L5SJ144161000184;
        $       One 2005 Cross Roads Camper, VIN 4V0FC36285A001528;
        $       All funds at W achovia Bank in the sole name or joint names of Kimberly B. M orris and d/b/a
                M M Ranch & Tack, including but not limited to accounts number XXXXX6855 and
                XXXXX9715; and
        $       Real property located at 1937 Tryon Courthouse Road, Cherryville, North Carolina,
                described in Deeds and/or other Instruments recorded at Book 4498, page 493, and Book
                4402, page 2265 in the Gaston County, North Carolina Public Registry.


        The terms and conditions of the proposed consent order filed with the Government=s

Motion are incorporated into this Order and may be enforced as part of this Order.

        2.      Pursuant to 21 U.S.C. ' 853(n)(1), the Government shall publish as required by

law notice of this Order and notice that any person, other than the Defendant, having or claiming

a legal interest in any of the above-listed forfeited property must file a petition with the Court

within thirty days of the final publication of notice or of receipt of actual notice, whichever is

earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner=s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner=s right, title or interest in each

of the forfeited properties and any additional facts supporting the petitioner=s claim and the relief

sought. The United States may, as permitted by law and to the extent practicable, provide direct

written notice to any person known to have alleged an interest in property that is the subject of

this Order of Forfeiture, as a substitute for published notice.

        3.      Upon adjudication of all third-party interests, this Court will enter a final order




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and judgment of forfeiture pursuant to 21 U.S.C. ' 853(n).



       SO ORDERED.                             Signed: August 30, 2012




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